543 U.S. 1097
    MID-CON FREIGHT SYSTEMS, INC., ET AL.v.MICHIGAN PUBLIC SERVICE COMMISSION ET AL.
    No. 03-1234.
    Supreme Court of United States.
    January 21, 2005.
    
      1
      Ct. App. Mich. [Certiorari granted, ante, p. 1086.] Orders granting petitions for writs of certiorari amended to read as follows: "Certiorari granted limited to the following questions: 1. `Whether the $100 fee upon vehicles conducting intrastate operations violates the Commerce Clause of the United States Constitution.' 2. `Whether the $100 fee upon vehicles operating solely in interstate commerce is preempted by 49 U. S. C. § 14504.' Cases consolidated, and a total of one hour allotted for oral argument."
    
    